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                    UNITED STATES DISTRICT COURT

                         DISTRICT OF NEW MEXICO

STC.UNM,
                                             Civil No. 1:10–cv–01077–RB–WDS
                Plaintiff,

    v.

INTEL CORPORATION,

                Defendant.




                 I NTEL ’ S C ROSS -M OTION TO D ISMISS STC’ S
                R EMAINING C LAIMS FOR L ACK OF S TANDING




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                                               Motion

       Intel Corporation moves for dismissal of STC’s remaining claims (its claims for patent

infringement on or after December 1, 2011) on grounds that STC lacks standing to sue for such

infringement without joinder of the co-owner of the patent-in-suit, Sandia Corporation. This

motion is supported by documents already on file in this case and Intel’s concurrent opposition

to STC’s Motion to Correct Standing and Request for Reconsideration [Doc. 218].

                                             Argument

       This Court previously held the patent-in-suit, U.S. Patent No. 6,042,998, unenforceable

from issuance through December 1, 2011, because that patent and U.S. Patent No. 5,705,321

were not commonly owned during that period, as required under a terminal disclaimer filed to

have the ’998 patent allowed in the first place. [Doc. 206 at 22] The Court declined, however, to

determine whether the ’998 patent has been enforceable since STC assigned an undivided

interest in the ’998 patent to Sandia Corporation on December 1, 2011. The Court held that the

record before it was insufficient to determine whether Sandia National Laboratories (the long-

time co-owner of the ’321 patent) and Sandia Corporation (the new co-owner of the ’998 patent)

are the same entity. [Id. at 21–22]

       In so holding, the Court observed that the “[a]ddition of a new co-owner at this point …

raises the issue of proper standing.” [Id. at 22] Sandia Corporation is not a party to this case, yet

the Federal Circuit has held that “[w]here one co-owner possesses an undivided part of the entire

patent, that joint owner must join all the other co-owners to establish standing” and that “[a]bsent

the voluntary joinder of all co-owners of a patent, a co-owner acting alone will lack standing.”

[Id. (quoting Israel Bio-Eng’g Project v. Amgen, Inc., 475 F.3d 1256, 1264–65 (Fed. Cir. 2007))]


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The Court therefore encouraged the parties to confer and file appropriate motions addressing the

standing issue.

       STC has now filed a motion to “correct standing.” In that motion, STC acknowledges the

general rule that a co-owner lacks standing to sue without joining all co-owners. STC also

concedes that Sandia Corporation has refused to join STC’s infringement suit against Intel. STC

requests, however, that the Court fix STC’s standing problem by either joining Sandia

Corporation as a plaintiff against its will under Fed. R. Civ. P. 19(a)(2) or ignoring Sandia

Corporation’s absence by treating it as dispensable party under Fed. R. Civ. P. 19(b).

       Intel’s and Sandia Corporation’s oppositions to STC’s motion, which Intel incorporates

here by reference, explain at length why Sandia Corporation cannot be joined involuntarily and

why the Court should not treat Sandia Corporation as dispensable. Moreover, STC’s Rule 19

motion includes its only proposed solutions to its standing problem. STC points to no prospect

that Sandia Corporation will change its mind and join this suit, or that STC will solve its standing

and unenforceability problems by buying out the co-owners of both the ’998 and ’321 patents.

(STC does urge the Court to reconsider its original summary judgment ruling, but Intel’s

opposition explains why reconsideration is not warranted.)

       Because STC admits its current lack of standing and has no reasonable prospect of

correcting that defect any time soon, Intel submits that the Court should now dismiss STC’s

remaining claims (for infringement on or after December 1, 2011) and put an end to the case.

The final dismissal should be with prejudice to refiling for claims through November 30, 2011,

due to the patent’s unenforceability during that period. The dismissal may be without prejudice

to refiling for claims after that date, preserving possible future remedies for STC if it can resolve



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its standing problem without creating an unenforceability problem.1

       If the Court grants this motion, Intel will submit an appropriate form of judgment.


Dated: July 10, 2012.                        Respectfully submitted,
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        In that event, Intel remains entitled and preserves its rights to contend that Sandia
Corporation and Sandia National Laboratories are different entities and that the ’998 patent
continued to be unenforceable after December 1, 2011.


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                                      Certificate of Service

        The undersigned hereby certifies that on July 10, 2012, the foregoing document was

electronically filed with the Clerk of Court using the CM/ECF system, which will automatically

send notification of such filing to all counsel who have entered an appearance in this action.

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                                                /s/ Clifford K. Atkinson
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